                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE



UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      No. 2:14-CR-020
                                                 )
PEGGY JEAN STALLARD                              )

                           MEMORANDUM AND ORDER

              The defendant pled guilty to conspiring to distribute and to possess with the

intent to distribute a-PVP, otherwise known as “gravel.” She will be sentenced on

November 6, 2014. The United States Probation Office has prepared and disclosed a

Presentence Investigation Report (“PSR”) [doc. 109], to which the defendant has filed an

objection.

              At paragraph 33, the PSR assigns one criminal history point for a

December 2013 conviction in the Criminal Court of Sullivan County, Tennessee. In that

case, the defendant pled guilty to possession of drug paraphernalia. She now objects that

the Sullivan County conviction should not receive a criminal history point because the

drug paraphernalia was “part of the conspiracy to distribute and possess with the intent to

distribute a schedule I controlled substance analogue” for which she will be sentenced in

this court.

              According to the Sullivan County presentment, the defendant was charged

in Count 1 with “unlawfully possess[ing] with the intent to use drug paraphernalia, to wit:




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a glass pip[e] to inject, ingest, inhale or otherwise introduce into the human body a

controlled substance . . . .” The defendant pled guilty to that charge.

              In material part, prior sentences counted in the federal criminal history

computation are those involving “conduct not part of the instant offense.” See U.S.

Sentencing Guidelines Manual § 4A1.2(a)(1) (2013). “Conduct that is part of the instant

offense means conduct that is relevant conduct to the instant offense under the provisions

of §1B1.3 (Relevant Conduct).” Id. § 4A1.2 cmt. n.1. Relevant conduct includes those

acts “that occurred during the commission of the offense of conviction, in preparation for

that offense, or in the course or attempting to avoid detection or responsibility for that

offense.” Id. § 1B1.3(a)(1)(B).

              In this court the defendant has pled guilty to distributing and possessing

with the intent to distribute gravel. By contrast, in the Sullivan County case she pled

guilty to possessing paraphernalia for drug use. These are two distinct crimes – drug

distribution vs. possession of a pipe. The Sullivan County pipe possession cannot be

viewed as occurring during, in preparation for, or in concealing the drug distribution

offense in this case. The Sullivan County crime was thus “conduct not part of the instant

offense” and is properly counted in the defendant’s criminal history computation.




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             The pending PSR objection is therefore OVERRULED.               Sentencing

remains set for November 6, 2014, at 1:15 p.m. in Greeneville.

             IT IS SO ORDERED.

                                                      ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




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